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 1
                                                            The Honorable Thomas S. Zilly
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 7                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
 8

 9   DALE BROWN, et al,
                                                    No. 3:20-cv-05628-TSZ
10                           Plaintiff,
             v.
11
     MASON COUNTY et al,
12                                                  GRUMP VENTURES LLC’S LAND
                             Defendant.             USE PETITION PURSUANT TO
13                                                  RCW CH. 36.70; AND FIRST
     GRUMP VENTURES LLC,                            AMENDED COMPLAINT FOR
14                                                  DAMAGES
15                           Petitioner,
             v.
16
     MASON COUNTY,
17                           Respondent.

18
                                   I.      INTRODUCTION
19
             1.1.   Petitioner/Plaintiff Grump Ventures, LLC (“Grump Ventures”) by and
20
     through its undersigned counsel, files this Complaint and Petition pursuant to RCW Ch.
21
     36.70C, the Land Use Petition Act (“LUPA”) against Respondent/Defendant Mason
22
     County (“County”). This Complaint and Petition concerns a land use decision issued by
23
     Mason County rescinding a Form SM-6 (“SM-6”) issued to Grump Ventures on June 30,
24
     2017.
25

     GRUMP VENTURES LLC’S LAND USE PETITION
     PURSUANT TO RCW CH. 36.70C; FIRST AMENDED
     COMPLAINT FOR DAMAGES - 1                             1191 Second Avenue Suite 1800
                                                           Seattle, WA 98101-2996
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 1          1.2.    Grump Ventures is a family-run limited liability company that has

 2   conducted gravel mining operations at its property since the 1950s. As part of its long-

 3   planned expansion of its mine, in 2017, Grump Ventures applied for and obtained a SM-6

 4   from the County, which verified the County’s approval of the proposed mining operations

 5   on the site. Over the following months, relying on the SM-6, Grump Ventures dedicated

 6   considerable resources and efforts towards its permitting applications.

 7          1.3.    On January 2020, after ex parte meetings with community members

 8   opposed to Grump Ventures’ project, the County suddenly revoked the SM-6 without

 9   prior notice to Grump Ventures. The County’s revocation decision claimed that the

10   mining use had been “abandoned for a period of more than two years,” notwithstanding

11   the County’s knowledge of the ongoing permitting applications.

12          1.4.    On appeal, the County’s Hearing Examiner affirmed the County’s

13   revocation decision. In reaching that decision, the Hearing Examiner misinterpreted the

14   Mason County Code (“MCC” or “Code”) and common law, improperly placed the burden

15   of proof on Grump Ventures, exhibited bias and unfounded speculation, treated Grump

16   Ventures differently from other property owners and applicants, and completely

17   disregarded the facts presented by Grump Ventures, including evidence that the County

18   failed to rebut. Grump Ventures asks this Court to review and reverse the County’s

19   decision; determine that the County’s decision-making was illegal, arbitrary, and

20   capricious; and award damages as a result of the injuries it has sustained through the

21   County’s actions.

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 1                                       II.     PARTIES

 2            A.    Petitioner/Plaintiff and Petitioner/Plaintiff’s Attorney

 3            2.1   Grump Ventures is the owner of the property at issue located within Mason
 4   County, and is the applicant for the land use permit at issue. Grump Ventures’ mailing
 5   address is P.O. Box 190, Belfair, Washington 98528-0190.
 6            2.2   Grump Ventures is represented by Brent Carson, Dale Johnson, and
 7   Sophia Amberson of Van Ness Feldman LLP, 1191 Second Avenue, Suite 1800, Seattle,
 8   Washington 98101. Grump Ventures may be contacted through the undersigned attorneys.
 9            B.    Respondent/Defendant Local Jurisdiction
10            2.3   Mason County is the local jurisdiction that issued the decision at issue. The
11   mailing address of the Auditor of the County is P.O. Box 400, Shelton, Washington
12   98584.
13            2.4   The decision-maker of the County who made the decision at issue is the
14   Hearing Examiner for Mason County, Phil Olbrechts (“Hearing Examiner”). On
15   information and belief, the mailing address of the Hearing Examiner is c/o Mason County
16   Department of Community Development, P.O. Box 279, Shelton, WA 98584. The initial
17   decision of Mason County is attached as Exhibit A; the Hearing Examiner’s Revised
18   Findings of Fact, Conclusions of Law and Final Decision (“Decision”) issued August 11,
19   2020 is attached as Exhibit B.
20            C.    Petitioner/Plaintiff’s Standing
21            2.5   Grump Ventures has standing under RCW 36.70C.060 as the owner, holder
22   of property interests, and applicant concerning the property to which the Decision applies.
23

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 1          D.      Jurisdiction and Venue

 2          2.6     The Court has jurisdiction to review this Petition and Complaint pursuant
 3   to RCW 2.08.010, 7.16.160, and 7.24.010.
 4          2.7     Pursuant to the provisions of the MCC the Decision is a “land use
 5   decision” appealable to this court exclusively via LUPA petition. See MCC 15.11.040.
 6   Under LUPA, a “land use decision” is “a final determination by a local jurisdiction’s body
 7   or officer with the highest level of authority to make the determination, including those
 8   with authority to hear appeals,” on applications for a governmental approval or on an
 9   interpretive or declaratory decision regarding the application to a specific property of
10   zoning or other ordinances or rules. See RCW 36.70C.020. The Code provides that
11   administrative decisions and administrative interpretations are appealable to the hearing
12   examiner, and final decisions of the Hearing Examiner are appealable only via judicial
13   appeal. MCC 15.11.010, -.040. This Petition is timely filed within twenty-one (21) days of
14   the issuance of the Decision. See RCW 36.70C.040(3).
15          2.8     Venue is proper in Thurston County pursuant to RCW 36.01.050, which
16   provides that actions against a county may be commenced in the superior court of either of
17   the two nearest judicial districts. Thurston County is one of the two judicial districts
18   nearest to Mason County.
19          2.9     This case was removed to the United States District Court for the Western
20   District of Washington on September 9, 2020, pursuant to 28 U.S.C. § 1441(a) federal
21   question jurisdiction.
22          3.0     The federal court has jurisdiction over Grump Ventures’ state law claims
23   under 28 U.S.C. § 1367(a) as these claims derive from a common nucleus of operative
24   fact with Grump Ventures’ federal law claims.
25

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 1                               III.    STATEMENT OF FACTS

 2          3.1      Grump Ventures hereby incorporates all facts and allegations set forth in

 3   the paragraphs above and below as if fully set forth herein.

 4          3.2      Grump Ventures is a family-run LLC owned by Russell Scott and operated

 5   with significant input and involvement by members of the Scott family. Since

 6   approximately 1950, the Scott family has conducted gravel mining operations at the

 7   project site, which consists of six contiguous parcels located along 4952 NE North Shore

 8   Road in Belfair. The County has historically used the site for gravel mining operations,

 9   and in recent years has used the site to stockpile materials.

10          3.3      In 2009, Grump Ventures purchased the six parcels that make up the site

11   from various members of the Scott family and consolidated the parcels into single

12   ownership. In 2017, Grump Ventures submitted an Application for Reclamation Permit to

13   the Washington State Department of Natural Resources. In the application, Grump

14   Ventures proposed to divide the project site into five mining and reclamation segments,

15   which would be worked sequentially in stages over a 100-year period.

16          3.4      As part of the Application for Reclamation Permit, Grump Ventures was

17   required to obtain a SM-6 for the subject parcels. A SM-6 is a form signed by a county or

18   municipality that verifies the county’s or municipality’s “approval of mining and of the

19   subsequent use of the mine site.” WAC 332-18-01002. The SM-6 must be signed by a

20   responsible official from the appropriate jurisdiction.

21          3.5      On February 17, 2017, Grump Ventures submitted a SM-6 to the County

22   for approval. On June 30, 2017, the County issued a signed SM-6 to Grump Ventures.

23   The form poses two questions to local zoning officials, quoted as follows:

24                1. Has the proposed surface mine been approved under local zoning
                  and land use regulations?
25

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 1                 2. Is the proposed subsequent use of the land after reclamation
                   consistent with the local land use plan/designation?
 2
     For both questions, the County marked “yes.” Additionally, the SM-6 issued to Grump
 3
     Ventures included a handwritten note stating that Grump Ventures use was “[f]ound to be
 4
     consistent with the diminishing assets doctrine.”
 5
            3.6       After receiving the SM-6, Grump Ventures submitted applications for its
 6
     mining proposal, including a Form SM-8A Application for Surface Mining Reclamation
 7
     Permit and related materials to DNR, a Class IV General Forest Practices Application/
 8
     Notification for timber removal activities to the County, and a State Environmental Policy
 9
     Act (“SEPA”) checklist.
10
            3.7       On June 22, 2018, the County issued and provided notice of a Mitigated
11
     Determination of Non-Significance (“MDNS”) for the proposal. The SEPA checklist,
12
     which was published along with the MDNS, stated that the proposal’s compatibility with
13
     existing and projected land uses and plans was pursuant to the “[l]ocal zoning code, [and]
14
     SM-6 from Mason County.” To date, considerable resources have been dedicated toward
15
     Grump Ventures’ permitting efforts. On information and belief, the County was aware of
16
     Grump Ventures’ ongoing permitting efforts when it decided to revoke the SM-6.
17
            3.8       Public records from the County show that around December 2019, certain
18
     members of a group called the Hood Canal Gravel Mining Opposition Association
19
     (“HCGMOA”) requested private meetings with the County officials to discuss the SM-6
20
     The County did not disclose to Grump Ventures that these meetings were occurring, and
21
     Grump Ventures had no notice that the County was undertaking a process to rescind the
22
     SM-6, depriving Grump Ventures of any opportunity to review or respond to HCGMOA’s
23
     opposition.
24

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 1          3.9     Shortly after the meetings with HCGMOA members, on January 28, 2020,

 2   the County issued an administrative decision stating that “the County is rescinding the use

 3   of the SM-6,” and that “any past surface mining has been abandoned for a period of more

 4   than two years.” On February 10, 2020, Grump Ventures filed a timely appeal of the

 5   County’s administrative decision to the Hearing Examiner, and HCGMOA intervened in

 6   the appeal.

 7          3.10    During the prehearing process, the Hearing Examiner issued two summary

 8   judgment orders. The first concluded that the SM-6 certification served as a final land use

 9   decision that could not be collaterally attacked in this proceeding. Specifically, the

10   Examiner concluded that the County could not revisit the validity of the finding in the

11   SM-6 certification that the entirety of Grump’s 66.5-acre mining site was a valid

12   nonconforming use under the diminished assets doctrine as of the issuance of the

13   certification on June 30, 2017. The second summary judgment order concluded that

14   Grump Ventures’ nonconforming use rights could be terminated by two years of cessation

15   of use for any two-year period between July 1, 2017 and April 3, 2019. Ignoring well-

16   established Washington common law regarding nonconforming uses and the diminishing

17   assets doctrine, the Examiner further concluded that continued use required actual mining

18   and gravel extraction, and that mining-related uses such as storage, stockpiling of

19   materials, and the ongoing permitting efforts were insufficient to establish continued use.

20   Finally, the Examiner concluded that Grump Ventures’ intent to maintain its

21   nonconforming use right was irrelevant.

22          3.11    The Hearing Examiner held a virtual open-record hearing over four days,

23   on July 16, 22, 23, and 24, 2020. During the open record hearing, Grump Ventures

24   provided testimony from five witnesses who testified regarding Grump Ventures’ mining

25   activities between July 1, 2017, and April 3, 2019. In particular, Grump Ventures

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 1   presented photos, business records, and testimony regarding mining activities that

 2   occurred beginning in February and through April 2017, including the digging of test pits

 3   and mining that occurred in April 2017.

 4          3.12       The County and HCGMOA collectively provided testimony seeking to

 5   prove that no such mining had occurred. However, as described further below, in many

 6   instances the County and HCGMOA’s testimony failed to refute Grump Ventures’

 7   testimony, or at best presented conflicting testimony. Under Washington common law,

 8   conflicting testimony is an insufficient basis for terminating a nonconforming use right.

 9          3.13       Following the hearing, the Examiner issued the Decision on August 11,

10   2020, denying Grump Ventures’ appeal. In the Decision, the Hearing Examiner

11   incorporated his prior summary judgment orders. The Examiner issued the Decision with

12   complete disregard of the facts presented by Grump Ventures. Among other issues, the

13   Examiner disregarded contemporaneous business records on the grounds that the records

14   were “manufactured for the appeal hearing,” despite a total absence of evidence that the

15   records were manufactured; the Examiner failed to acknowledge evidence that directly

16   addressed the County and HCGMOA’s claim that Grump Ventures’ mining activities

17   were economically or practically infeasible; and the Examiner credited the testimony of an

18   “expert” who opined that no mining or vegetation removal had occurred on the property,

19   while ignoring unrefuted evidence showing that over 85,000 board feet of timber had been

20   removed from the property. The Examiner also exhibited bias and unfounded speculation

21   against Grump Ventures, treating Grump Ventures differently from other property owners

22   and applicants.

23          3.14       On October 1, 2020, Grump Ventures delivered a Notice of Claim and

24   attached Mason County Claim for Damages Form pursuant to MCC 2.148.060, et seq. and

25   chapter 4.96.010 RCW et seq. The County did not respond to Grump Ventures’ Claim for

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 1   Damages within sixty (60) days, and accordingly pursuant to RCW 4.96.020, Grump

 2   Ventures may now bring tort claims against the County.

 3                               IV.    STATEMENTS OF ERROR
 4          4.1       Grump Ventures hereby incorporates all facts and allegations set forth in
 5   the paragraphs above and below as if fully set forth herein.
 6          A.        The Decision is an erroneous interpretation of the law, after allowing
 7                    for such deference as is due the construction of a law by a local
                      jurisdiction with expertise. RCW 36.70.130(1)(b).
 8
            4.2       The County’s rescission of Grump Ventures’ SM-6 was based on the
 9
     County’s conclusion that “any past surface mining has been abandoned for a period of
10
     more than two years.” Ex. B at 1. MCC 17.05.016(a) provides, “If any nonconforming use
11
     of land and/or building is abandoned, or ceases for any reason whatsoever (including
12
     destruction of the building) for a period of two years or more, then any future use of such
13
     land and/or building shall conform to the provisions of this chapter.”
14
            4.3       The Decision was the result of several erroneous interpretations of the
15
     Code and of well-established Washington case law regarding nonconforming uses. The
16
     Decision’s erroneous legal interpretations include, but are not limited to the following:
17
                  •   The Hearing Examiner erroneously concluded that the Code required
18
                      Grump Ventures to engage in the act of mining every two years. Under
19
                      common law regarding nonconforming uses and the diminishing assets
20
                      doctrine, Grump Ventures’ activities, including but not limited to its
21
                      ongoing permitting applications, maintenance of stockpiles and equipment,
22
                      and maintenance of the pit’s availability for use by contractors and by the
23
                      County, were sufficient to continue the nonconforming use right.
24

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 1            •   The Hearing Examiner erroneously concluded that Grump Ventures’ intent
 2                to continue mining operations was irrelevant to the abandonment inquiry,

 3                notwithstanding the requirement of intent established under the Code and

 4                common law.

 5            •   The Hearing Examiner erroneously considered evidence pre-dating the
 6                SM-6’s issuance, even after the Examiner concluded that the SM-6 was a

 7                final, unappealed land use decision that could not be collaterally attacked

 8                and that established the existence and validity of Grump Ventures’

 9                nonconforming use right as of June 30, 2017. The Examiner’s findings

10                regarding Grump Ventures’ use in the years prior to the SM-6’s issuance

11                amount to an improper collateral attack on the SM-6.

12            •   While the Decision facially acknowledged that the County bears the heavy
13                burden of proving abandonment, the Hearing Examiner applied the burden

14                of proof erroneously. Among other things, the Examiner discounted Grump

15                Ventures’ testimony and evidence as self-serving without applying the

16                same standard to the project opponents’ testimony, who had a similar

17                interest in providing self-serving testimony. As another example, the

18                Examiner disregarded trucking slips maintained by a third-party trucking

19                contractor on the grounds that the slips were not “independently

20                verifiable.” In applying such standards, the Examiner improperly placed a

21                high burden of proof on the property owner, in contravention of well-

22                established Washington case law.

23

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 1          B.      The Decision is not supported by evidence that is substantial when
                    viewed in light of the whole record before the court. RCW
 2                  36.70C.130(1)(c).
 3          4.4     The Hearing Examiner’s Decision credited the entirety of the County’s and
 4   HCGMOA’s evidence, but in doing so, the Examiner failed to acknowledge or even
 5   mention many key pieces of Grump Ventures’ evidence that discredited or contradicted
 6   the County’s and HCGMOA’s evidence.
 7          4.5     As one example, the Hearing Examiner relied on the HCGMOA’s’ expert’s
 8   use of precise methodologies used to calculate quantities of extracted materials in mining
 9   operations. However, during cross, the expert readily admitted that he did not use such
10   methodologies in his analysis for this case. Rather, the methodology the expert used was
11   so unreliable that the expert failed to recognize any evidence of logging of over 85,000
12   board feet of timber that had occurred in the subject property, despite Grump Ventures’
13   submission of undisputed evidence that such logging had occurred. The expert’s inability
14   to recognize the drastic signs of logging, signs of which were visible even to the untrained
15   layperson’s eye, calls into question the expert’s reliability and credibility and the
16   Decision’s reliance on the expert. The expert also provided conflicting testimony about
17   the accuracy of his methods.
18          4.6     Other evidence that the Examiner failed to address in the Decision include
19   evidence that directly addressed and rebutted the County and HCGMOA’s claims that
20   Grump Ventures’ mining activities were physically or economically impossible. This
21   evidence includes, but is not limited to, evidence regarding the speed of vegetation
22   growth, the nonuse of the road where Grump Ventures dug test pits in 2017, the closure
23   and unavailability of a nearby pit, and the unrefuted records of additional equipment
24   brought into the pit on April 26, 2017. By failing to address significant portions of the
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 1   evidence in the record, much of which was unrefuted, the Decision made findings that

 2   were not supported by substantial evidence.

 3          C.      The Decision is based on a clearly erroneous application of the law to
                    the facts. RCW 36.70C.130(1)(d).
 4
            4.7     The Decision is a clearly erroneous application of the law, including but
 5
     not limited to MCC 17.05.016(a) and common law regarding nonconforming uses and the
 6
     diminishing assets doctrine.
 7
            D.      The Decision violates Grump Ventures’ constitutional rights. RCW
 8                  36.70C.130(1)(f).
 9
            4.8     The Decision, including but not limited to the emphasis placed on Grump
10
     Ventures’ interest in its nonconforming use right, constituted a violation of Grump
11
     Ventures’ right to substantive and procedural due process of law, equal protection of the
12
     law, and to be free from arbitrary, capricious and unlawful conduct. The errors include but
13
     are not limited to the Hearing Examiner’s bias and speculation against Grump Ventures
14
     and the treatment of its appeal differently due to Grump Ventures’ identity.
15
            E.      The Decision was based on unlawful procedure and failure to follow a
16                  prescribed process, and was outside the Hearing Examiner’s authority
                    or jurisdiction. RCW 36.70C.130(1)(a), (e).
17
            4.9     The Examiner engaged in unlawful procedure, failed to follow a prescribed
18
     process, and acted outside the Examiner’s authority or jurisdiction in issuing the Decision,
19
     including but not limited to the Examiner’s consideration of evidence prior to the SM-6’s
20
     issuance, resulting in a collateral attack on the SM-6’s basis and being internally
21
     inconsistent with the Examiner’s summary judgment ruling.
22

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 1                                V.      CAUSES OF ACTION

 2          A.      First Cause of Action: Land Use Petition – Chapter 36.70C RCW

 3          5.1     Grump Ventures hereby incorporates all facts and allegations set forth in
 4   the paragraphs above and below as if fully set forth herein.
 5          5.2     Grump Ventures has alleged facts sufficient to demonstrate that the
 6   Decision was based on unlawful procedure and failure to follow a prescribed process, is
 7   an erroneous interpretation of the law, is not supported by substantial evidence when
 8   viewed in light of the whole record, is a clearly erroneous application of the law to the
 9   facts, is outside the Hearing Examiner’s authority or jurisdiction, and violates Grump
10   Ventures’ constitutional rights, under RCW 36.70C.130.
11          5.3     For these reasons, the Decision should be reversed and set aside.
12          B.      Second Cause of Action: Damages – Chapter 64.40 RCW
13          5.4     Grump Ventures hereby incorporates all facts and allegations set forth in
14   the paragraphs above and below as if fully set forth herein.
15          5.5     The County’s acts and/or omissions set forth above are unlawful and
16   arbitrary and capricious and/or in excess of the County’s lawful authority.
17          5.6     The County knew or should have reasonably known of the unlawfulness of
18   its acts and/or omissions.
19          5.7     The Decision limits the use of Grump Ventures’ property in excess of
20   lawful authority. Without the SM-6, Grump Ventures is precluded from obtaining
21   necessary state permits, and prohibited from pursuing its proposed mining operations
22          5.8     The County’s Decision is arbitrary and capricious and is resulting in
23   ongoing delay of Grump Ventures’ project.
24

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 1           5.9    Grump Ventures has suffered actual, ongoing damages in an amount to be

 2   proved at trial, including but not limited to the costs associated with the ensuing

 3   permitting delay, attorneys’ fees, and associated litigation costs as a result of the improper

 4   Decision.

 5           5.10   As the prevailing party, Grump Ventures is entitled to recover costs and

 6   reasonable attorneys’ fees, pursuant to RCW 64.40.020, in an amount to be proved at trial.

 7           C.     Third Cause of Action: Violation of 42 U.S.C. § 1983, Fourteenth
                    Amendment of the United States Constitution – Procedural Due
 8                  Process
 9           5.11   Grump Ventures hereby incorporates all facts and allegations set forth in
10   the paragraphs above and below as if fully set forth herein.
11           5.12   Grump Ventures has cognizable property interests as an operator of a
12   gravel mine, as a landowner, in its SM-6, in goodwill and reputation of its mining
13   business, and in devoting land to legitimate uses which constitutes a protected property
14   interest.
15           5.13   Grump Ventures has a cognizable liberty interest in its chosen occupation
16   as a gravel mine.
17           5.14   By failing to give Grump Ventures notice of the rescission of the SM-6,
18   and a fair, impartial, and unbiased opportunity to be heard with respect to the rescission,
19   the County—acting under the color of state law, county ordinances, regulations, customs
20   and usages of regulations and authority, and in violation of 42 U.S.C. § 1983—has and
21   continues to deprive Grump Ventures of liberty and property without procedural due
22   process in violation of the Fourteenth Amendment to the United States Constitution.
23           5.15   As a direct and proximate result of the foregoing Grump Ventures has been
24   damaged in an amount according to proof at trial.
25

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 1           D.     Fourth Cause of Action: Violation of 42 U.S.C. § 1983, Fourteenth
                    Amendment of the United States Constitution – Substantive Due
 2                  Process
 3           5.16   Grump Ventures hereby incorporates all facts and allegations set forth in
 4   the paragraphs above and below as if fully set forth herein.
 5           5.17   Grump Ventures has cognizable property interests as an operator of a
 6   gravel mine, as a landowner, in its SM-6, in goodwill and reputation of its mining
 7   business, and devoting land to legitimate uses which constitutes a protected property
 8   interest.
 9           5.18   Grump Ventures has a cognizable liberty interest in its chosen occupation
10   as a gravel mine.
11           5.19   Grump Ventures also has a cognizable property interest in an impartial
12   review of its appeal of the SM-6’s rescission. The right to an impartial decision maker is a
13   right implicit in the concept of ordered liberty. Maytown Sand & Gravel, LLC v. Thurston
14   Cty., 191 Wn.2d 392, 435, 423 P.3d 223 (2018).
15           5.20   The Hearing Examiner was not an impartial decision maker. Among other
16   things, the Decision disregarded Grump Ventures’ evidence without explanation, singled
17   out and maligned Grump Ventures, exhibited bias, and made findings inconsistent with
18   prior rulings. The County’s and the Hearing Examiner’s conduct, acting under the color of
19   state law, county ordinances, regulations, customs and usages of regulations and authority,
20   and in violation of 42 U.S.C. §1983, “shock[] the conscience and interfere[] with rights
21   that are implicit in the concept of ordered liberty” thereby violating Grump Ventures’
22   substantive due process rights under the Fourteenth Amendment of the United States
23   Constitution. Id. at 430. Because decisions like this one (which was made in a climate of
24   political pressure) are more susceptible to an abuse of authority, they “require[] a higher
25

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 1   degree of judicial scrutiny than is normally appropriate for administrative action.”

 2   Polygon Corp. v. City of Seattle, 90 Wn.2d 59, 578 P.2d 1309, 1315 (1978).

 3          5. 21    As a direct and proximate result of the foregoing, Grump Ventures has

 4   been damaged in an amount according to proof at trial.

 5          E.       Fifth Cause of Action: Violation of 42 U.S.C. § 1983, Fourteenth
                     Amendment of the United States Constitution – Equal Protection
 6                   Clause
 7          5.22     Grump Ventures hereby incorporates all facts and allegations set forth in
 8   the paragraphs above and below as if fully set forth herein.
 9          5.23     The County, acting under the color of state law, county ordinances,
10   regulations, customs and usages of regulations and authority, and in violation of 42 U.S.C.
11   §1983, has intentionally treated Grump Ventures differently than other similarly situated
12   mining operators in violation of the Fourteenth Amendment to the United States
13   Constitution.
14          5.24     This differential treatment is without any rational basis, wholly arbitrary,
15   and based on political pressure.
16          5.25     As a direct and proximate result of the foregoing, Grump Ventures has
17   been damaged in an amount according to proof at trial.
18          F.       Sixth Cause of Action: Negligence
19
            5.26     Grump Ventures hereby incorporates all facts and allegations set forth in
20
     the paragraphs above and below as if fully set forth herein.
21
            5.27     The County had a duty to Grump Ventures to exercise its quasi-judicial
22
     authority as would a reasonably prudent Board of Commissioners and Hearing Examiner
23
     in like or similar circumstances.
24

25

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 1          5.28    The County breached its duty by rendering an intentionally unlawful,

 2   negligent, arbitrary, and capricious decision.

 3          5.29    The County’s breach is a direct and proximate cause of Grump Ventures

 4   inability to exercise its mining rights under the SM-6 prior to its unlawful rescission and

 5   affirmance.

 6          5.30    As a result, Grump Ventures has suffered damages and the right to use and

 7   enjoy its property.

 8          G.      Seventh Cause of Action: Negligent Misrepresentation

 9          5.31    Grump Ventures hereby incorporates all facts and allegations set forth in
10   the paragraphs above and below as if fully set forth herein.
11          5.32    The County represented, on several occasions, that the SM-6 was valid.
12   The County also intentionally failed to inform Grump Ventures that it would attempt to
13   unlawfully, willfully, and arbitrarily rescind the SM-6.
14          5.33    The County knew that the representations were false, or it was negligent in
15   making the representations.
16          5.34    The County intended for Grump Ventures to act upon its representations.
17          5.35    Grump Ventures reasonably relied on the truthfulness of the County’s
18   representations.
19          5.36    As a result, Grump Ventures has suffered damages and the right to use and
20   enjoy its property.
21          H.      Eighth Cause of Action: Tortious Interference with a Business
                    Expectancy
22
            5.37    Grump Ventures hereby incorporates all facts and allegations set forth in
23
     the paragraphs above and below as if fully set forth herein.
24

25

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 1          5.38    Grump Ventures had a valid business expectancy in its gravel resources,

 2   mining operation, and sale of gravel from the property.

 3          5.39    The County had knowledge of Grump Ventures’ business expectancy.

 4          5.40    The County, through its rescission and affirmance of the rescission of the

 5   SM-6, intentionally induced or caused the termination of Grump Ventures’ business

 6   expectancy.

 7          5.41    The County’s intereference was for an improper purpose or by improper

 8   means of succumbing to external political pressure.

 9          5.42    The County’s conduct proximately caused damages to Grump Ventures,

10   including but not limited to, its business reputation and goodwill.

11                               VI.      REQUEST FOR RELIEF
12          Based on the foregoing, Grump Ventures requests the following relief:
13              1. A ruling that Grump Ventures has met its burden of proof under one or
14                  more of the standards listed in RCW 36.70C.130;
15              2. Reversal of the Decision;
16              3. A ruling that Grump Ventures’ nonconforming use right remains valid, and
17                  remand to the County for further proceedings;
18              4. In the alternative, a ruling on the specific issues raised in this Petition, and
19                  remand to the County for further processing consistent with such rulings
20                  and issuance of a subsequent decision on the merits;
21              5. An award of damages in an amount in excess of $118,726,200.00 lost in
22                  the current retail value of the total mineable material on the Property (not
23                  inclusive of retail value), to be further established at trial;
24

25

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 1            6. An award of damages to business reputation and loss of goodwill, in the

 2               amount to be established at trial;

 3            7. An award of damages and attorneys’ fees and costs as authorized under

 4               RCW 64.40 and 42 U.S.C. § 1988(b) and as otherwise allowed by law;

 5            8. For permission to amend the pleadings to conform to the proof; and

 6            9. For such other and further relief as may be just and equitable.

 7         DATED this 24th day of February, 2021.

 8                                              VAN NESS FELDMAN LLP

 9

10
                                                ___________ ______________
11
                                                Brent Carson, WSBA # 16240
12                                              Dale N. Johnson, WSBA #26629
                                                Sophia E. Amberson, WSBA #52528
13
                                                1191 Second Ave., Suite 1800
14                                              Seattle, WA 98101T: (206) 623-9372
15                                              E: brc@vnf.com; dnj@vnf.com;
                                                samberson@vnf.com
16
                                                Attorneys for Petitioner/Plaintiff Grump
17                                              Ventures LLC
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                                  CERTIFICATE OF SERVICE
 1
            I, certify that on February 24, 2021, I electronically filed the foregoing, Grump
 2
     Ventures LLC’s Land Use Petition Pursuant to RCW 36.70C; First Amended Complaint
 3

 4   for Damages, with the Clerk of the Court using the CM/ECF System, which will send

 5   notification of said filing to the attorneys of record that have, as required, registered with
 6   the Court’s system.
 7
            I certify under penalty of perjury under the laws of the State of Washington that
 8
     the foregoing is true and correct.
 9
            EXECUTED at Seattle, Washington on this 24th day of February, 2021.
10

11                                                 s/ I’sha M. Willis
                                                   I’sha M. Willis, Declarant
12

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     CERTIFICATE OF SERVICE - 1

                                                                 1191 Second Avenue Suite 1800
                                                                 Seattle, WA 98101-2996
                                                                 (206) 623-9372
